       Case 1:21-cr-00175-TJK Document 285-16 Filed 02/07/22 Page 1 of 12




                                                       U.S. Department of Justice

                                                       Matthew M. Graves
                                                       United States Attorney

                                                       District of Columbia

                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530




                                                       February 1, 2022

Via Email and Electronic File Transfer


 Lisa Costner                                     Carmen D. Hernandez
 Ira Knight                                       7166 Mink Hollow Road
 Federal Public Defender MDNC                     Highland, MD 20777
 251 N. Main St. Suite 849
 Winston-Salem NC 27101

 J. Daniel Hull                                   Nicholas Smith
 Hull McGuire PC                                  7 East 20th Street
 888 Seventeenth Street, NW                       Suite 4R
 Suite 1200                                       New York, NY 10003
 Washington, DC 20006

                Re:   United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

       I write to memorialize another production related to the above-captioned case as part of the
government’s efforts to produce preliminary discovery on an ongoing basis. Today the
government produced a fourth round of materials from Mr. Nordean’s case file maintained by the
Federal Bureau of Investigation (FBI). The materials described herein have been made available
for download in the Cross Discovery folder on USAfx, and an index is provided with the
production.

       Please note that the file names bear the titles as assigned by the FBI’s electronic systems.
This production includes grand jury subpoena material, some of which were previously produced
by the U.S. Attorney’s Office (see production of July 9, 2021). The FBI file names of these
materials contain “GJ.” Given the personal identification information and financial information
contained in those materials, those have been designated HIGHLY SENSITIVE, except as to the
      Case 1:21-cr-00175-TJK Document 285-16 Filed 02/07/22 Page 2 of 12




individual to whom the information pertains. Consistent with other cross-discovery productions,
all other materials are designated SENSITIVE except as to defendant Nordean.

      For your reference, “CART” files relate to FBI’s Computer Analysis Response Team and
“FISUR” files relate to physical surveillance. Note that each of these sub-files (e.g., GJ, CART,
FISUR) has its own series of serial numbers.

         Please let us know if you have been unable to access and download the materials for your
use in this case. To assist our future productions of discovery, we would again request that you
return external hard drives that we have supplied, once you have had an opportunity to copy the
materials.

       We understand that our discovery obligations are ongoing and intend to supplement our
disclosures on a rolling basis. If you have any questions, please do not hesitate to contact us.

                                                    Sincerely yours,

                                                    MATTHEW M. GRAVES
                                                    UNITED STATES ATTORNEY

                                            By:            /s/
                                                    Luke M. Jones
                                                    Assistant United States Attorney
                                                    555 4th Street, N.W.
                                                    Washington, D.C. 20530
                                                    (202) 252-7066
                                                    Luke.jones@usdoj.gov




                                               2
      Case 1:21-cr-00175-TJK Document 285-16 Filed 02/07/22 Page 3 of 12




                 Index of Production of Nordean FBI Files on February 1, 2022

Highly Sensitive Files are identified below and are being produced in a separate folder. All
other files are designated Sensitive, except as to defendant Nordean, as described in the
discovery correspondence.

 Serial Number      File Name                                                   Highly
                                                                                Sensitive
            169     266O‐SE‐3380382_0000169.pdf
            170     266O‐SE‐3380382_0000170.pdf
            171     266O‐SE‐3380382_0000171.pdf
            171     266O‐SE‐3380382_0000171_1A0000083_0000001.xlsx
            171     266O‐SE‐3380382_0000171_1A0000083_0000002.xlsx
            171     266O‐SE‐3380382_0000171_1A0000083_0000003.xlsx
            171     266O‐SE‐3380382_0000171_1A0000083_0000004.xlsx
            177     266O‐SE‐3380382_0000177.pdf
              1     266O‐SE‐3380382‐CART_0000001.pdf
              2     266O‐SE‐3380382‐CART_0000002.pdf
              2     266O‐SE‐3380382‐CART_0000002_1A0000001_0000001.pdf
              2     266O‐SE‐3380382‐CART_0000002_1A0000001_0000002.pdf
              2     266O‐SE‐3380382‐CART_0000002_1A0000001_0000003.txt
              2     266O‐SE‐3380382‐CART_0000002_1A0000001_0000004.txt
              2     266O‐SE‐3380382‐CART_0000002_1A0000001_0000005.pdf
              3     266O‐SE‐3380382‐CART_0000003.pdf
              3     266O‐SE‐3380382‐CART_0000003_1A0000002_0000001.pdf
              4     266O‐SE‐3380382‐CART_0000004.pdf
              5     266O‐SE‐3380382‐CART_0000005.pdf
              6     266O‐SE‐3380382‐CART_0000006.pdf
              7     266O‐SE‐3380382‐CART_0000007.pdf
              8     266O‐SE‐3380382‐CART_0000008.pdf
              8     266O‐SE‐3380382‐CART_0000008_1A0000003_0000001.pdf
              9     266O‐SE‐3380382‐CART_0000009.pdf
             10     266O‐SE‐3380382‐CART_0000010.pdf
             10     266O‐SE‐3380382‐CART_0000010_1A0000004_0000001.pdf
             11     266O‐SE‐3380382‐CART_0000011.pdf
             12     266O‐SE‐3380382‐CART_0000012.pdf
             13     266O‐SE‐3380382‐CART_0000013.pdf
             13     266O‐SE‐3380382‐CART_0000013_1A0000005_0000001.pdf
              1     266O‐SE‐3380382‐FISUR_0000001.pdf
              2     266O‐SE‐3380382‐FISUR_0000002.pdf
              3     266O‐SE‐3380382‐FISUR_0000003.pdf
              3     266O‐SE‐3380382‐FISUR_0000003_1A0000008_0000001.jpg
Case 1:21-cr-00175-TJK Document 285-16 Filed 02/07/22 Page 4 of 12




      3   266O‐SE‐3380382‐FISUR_0000003_1A0000009_0000001.PNG
      4   266O‐SE‐3380382‐FISUR_0000004.pdf
      4   266O‐SE‐3380382‐FISUR_0000004_1A0000001_0000001.jpg
      5   266O‐SE‐3380382‐FISUR_0000005.pdf
      5   266O‐SE‐3380382‐FISUR_0000005_1A0000001_0000001.jpg
      6   266O‐SE‐3380382‐FISUR_0000006.pdf
      6   266O‐SE‐3380382‐FISUR_0000006_1A0000002_0000001.mp4
      6   266O‐SE‐3380382‐FISUR_0000006_1A0000002_0000002.jpeg
      6   266O‐SE‐3380382‐FISUR_0000006_1A0000002_0000003.mp4
      6   266O‐SE‐3380382‐FISUR_0000006_1A0000002_0000004.jpeg
      6   266O‐SE‐3380382‐FISUR_0000006_1A0000002_0000005.jpeg
      6   266O‐SE‐3380382‐FISUR_0000006_1A0000002_0000006.jpeg
      1   266O‐SE‐3380382‐GJ_0000001.pdf                         Yes
      1   266O‐SE‐3380382‐GJ_0000001_1A0000001_0000001.pdf       Yes
      1   266O‐SE‐3380382‐GJ_0000001_1A0000001_0000002.pdf       Yes
      1   266O‐SE‐3380382‐GJ_0000001_1A0000001_0000003.pdf       Yes
      1   266O‐SE‐3380382‐GJ_0000001_1A0000001_0000004.tif       Yes
      1   266O‐SE‐3380382‐GJ_0000001_1A0000001_0000005.tif       Yes
      2   266O‐SE‐3380382‐GJ_0000002.pdf                         Yes
      2   266O‐SE‐3380382‐GJ_0000002_1A0000002_0000001.pdf       Yes
      2   266O‐SE‐3380382‐GJ_0000002_1A0000002_0000002.zip       Yes
      2   266O‐SE‐3380382‐GJ_0000002_1A0000002_0000003.pdf       Yes
      2   266O‐SE‐3380382‐GJ_0000002_1A0000002_0000004.zip       Yes
      2   266O‐SE‐3380382‐GJ_0000002_1A0000002_0000005.pdf       Yes
      2   266O‐SE‐3380382‐GJ_0000002_1A0000002_0000006.xlsx      Yes
      3   266O‐SE‐3380382‐GJ_0000003.pdf                         Yes
      3   266O‐SE‐3380382‐GJ_0000003_1A0000003_0000001.pdf       Yes
      3   266O‐SE‐3380382‐GJ_0000003_1A0000003_0000002.zip       Yes
      3   266O‐SE‐3380382‐GJ_0000003_1A0000003_0000003.pdf       Yes
      3   266O‐SE‐3380382‐GJ_0000003_1A0000003_0000004.xlsx      Yes
      4   266O‐SE‐3380382‐GJ_0000004.pdf                         Yes
      4   266O‐SE‐3380382‐GJ_0000004_1A0000004_0000001.pdf       Yes
      4   266O‐SE‐3380382‐GJ_0000004_1A0000004_0000002.html      Yes
      4   266O‐SE‐3380382‐GJ_0000004_1A0000004_0000003.zip       Yes
      4   266O‐SE‐3380382‐GJ_0000004_1A0000004_0000004.pdf       Yes
      4   266O‐SE‐3380382‐GJ_0000004_1A0000004_0000005.zip       Yes
      4   266O‐SE‐3380382‐GJ_0000004_1A0000004_0000006.pdf       Yes
      4   266O‐SE‐3380382‐GJ_0000004_1A0000004_0000007.pdf       Yes
      4   266O‐SE‐3380382‐GJ_0000004_1A0000004_0000008.pdf       Yes
      5   266O‐SE‐3380382‐GJ_0000005.pdf                         Yes
      5   266O‐SE‐3380382‐GJ_0000005_1A0000005_0000001.pdf       Yes


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Case 1:21-cr-00175-TJK Document 285-16 Filed 02/07/22 Page 5 of 12




      5   266O‐SE‐3380382‐GJ_0000005_1A0000005_0000002.gif    Yes
      5   266O‐SE‐3380382‐GJ_0000005_1A0000005_0000003.zip    Yes
      5   266O‐SE‐3380382‐GJ_0000005_1A0000005_0000004.png    Yes
      5   266O‐SE‐3380382‐GJ_0000005_1A0000005_0000005.pdf    Yes
      5   266O‐SE‐3380382‐GJ_0000005_1A0000005_0000006.pdf    Yes
      5   266O‐SE‐3380382‐GJ_0000005_1A0000005_0000007.txt    Yes
      5   266O‐SE‐3380382‐GJ_0000005_1A0000005_0000008.jpg    Yes
      5   266O‐SE‐3380382‐GJ_0000005_1A0000005_0000009.html   Yes
      5   266O‐SE‐3380382‐GJ_0000005_1A0000005_0000010.pdf    Yes
      5   266O‐SE‐3380382‐GJ_0000005_1A0000005_0000011.pdf    Yes
      6   266O‐SE‐3380382‐GJ_0000006.pdf                      Yes
      6   266O‐SE‐3380382‐GJ_0000006_1A0000006_0000001.pdf    Yes
      6   266O‐SE‐3380382‐GJ_0000006_1A0000006_0000002.zip    Yes
      6   266O‐SE‐3380382‐GJ_0000006_1A0000006_0000003.pdf    Yes
      7   266O‐SE‐3380382‐GJ_0000007.pdf                      Yes
      7   266O‐SE‐3380382‐GJ_0000007_1A0000007_0000001.pdf    Yes
      7   266O‐SE‐3380382‐GJ_0000007_1A0000007_0000002.pdf    Yes
      8   266O‐SE‐3380382‐GJ_0000008.pdf                      Yes
      8   266O‐SE‐3380382‐GJ_0000008_1A0000008_0000001.pdf    Yes
      8   266O‐SE‐3380382‐GJ_0000008_1A0000008_0000002.pdf    Yes
      8   266O‐SE‐3380382‐GJ_0000008_1A0000008_0000003.pdf    Yes
      9   266O‐SE‐3380382‐GJ_0000009.pdf                      Yes
      9   266O‐SE‐3380382‐GJ_0000009_1A0000009_0000001.html   Yes
      9   266O‐SE‐3380382‐GJ_0000009_1A0000009_0000002.html   Yes
      9   266O‐SE‐3380382‐GJ_0000009_1A0000009_0000003.html   Yes
      9   266O‐SE‐3380382‐GJ_0000009_1A0000009_0000004.msg    Yes
      9   266O‐SE‐3380382‐GJ_0000009_1A0000009_0000005.html   Yes
      9   266O‐SE‐3380382‐GJ_0000009_1A0000009_0000006.html   Yes
      9   266O‐SE‐3380382‐GJ_0000009_1A0000009_0000007.pdf    Yes
      9   266O‐SE‐3380382‐GJ_0000009_1A0000009_0000008.html   Yes
      9   266O‐SE‐3380382‐GJ_0000009_1A0000009_0000009.html   Yes
      9   266O‐SE‐3380382‐GJ_0000009_1A0000009_0000010.html   Yes
      9   266O‐SE‐3380382‐GJ_0000009_1A0000009_0000011.html   Yes
      9   266O‐SE‐3380382‐GJ_0000009_1A0000009_0000012.html   Yes
     10   266O‐SE‐3380382‐GJ_0000010.pdf                      Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000001.pdf    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000002.pdf    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000003.txt    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000004.dat    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000005.txt    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000006.pdf    Yes


                                    3
Case 1:21-cr-00175-TJK Document 285-16 Filed 02/07/22 Page 6 of 12




     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000007.txt    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000008.pdf    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000009.pdf    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000010.pdf    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000011.pdf    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000012.zip    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000013.zip    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000014.pdf    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000015.pdf    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000016.pdf    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000017.txt    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000018.pdf    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000019.pdf    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000020.pdf    Yes
     10   266O‐SE‐3380382‐GJ_0000010_1A0000010_0000021.pdf    Yes
     11   266O‐SE‐3380382‐GJ_0000011.pdf                      Yes
     11   266O‐SE‐3380382‐GJ_0000011_1A0000011_0000001.pdf    Yes
     11   266O‐SE‐3380382‐GJ_0000011_1A0000011_0000002.xlsx   Yes
     12   266O‐SE‐3380382‐GJ_0000012.pdf                      Yes
     12   266O‐SE‐3380382‐GJ_0000012_1A0000012_0000001.pdf    Yes
     12   266O‐SE‐3380382‐GJ_0000012_1A0000012_0000002.zip    Yes
     13   266O‐SE‐3380382‐GJ_0000013.pdf                      Yes
     13   266O‐SE‐3380382‐GJ_0000013_1A0000013_0000001.zip    Yes
     14   266O‐SE‐3380382‐GJ_0000014.pdf                      Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000001.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000002.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000003.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000004.txt    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000005.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000006.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000007.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000008.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000009.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000010.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000011.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000012.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000013.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000014.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000015.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000016.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000017.csv    Yes


                                    4
Case 1:21-cr-00175-TJK Document 285-16 Filed 02/07/22 Page 7 of 12




     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000018.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000019.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000020.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000021.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000022.zip    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000023.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000024.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000025.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000026.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000027.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000028.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000029.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000030.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000031.pdf    Yes
     14   266O‐SE‐3380382‐GJ_0000014_1A0000014_0000032.pdf    Yes
     15   266O‐SE‐3380382‐GJ_0000015.pdf                      Yes
     16   266O‐SE‐3380382‐GJ_0000016.pdf                      Yes
     16   266O‐SE‐3380382‐GJ_0000016_1A0000015_0000001.pdf    Yes
     16   266O‐SE‐3380382‐GJ_0000016_1A0000015_0000002.docx   Yes
     17   266O‐SE‐3380382‐GJ_0000017.pdf                      Yes
     17   266O‐SE‐3380382‐GJ_0000017_1A0000016_0000001.pdf    Yes
     17   266O‐SE‐3380382‐GJ_0000017_1A0000016_0000002.zip    Yes
     17   266O‐SE‐3380382‐GJ_0000017_1A0000016_0000003.pdf    Yes
     18   266O‐SE‐3380382‐GJ_0000018.pdf                      Yes
     18   266O‐SE‐3380382‐GJ_0000018_1A0000017_0000001.pdf    Yes
     18   266O‐SE‐3380382‐GJ_0000018_1A0000017_0000002.pdf    Yes
     18   266O‐SE‐3380382‐GJ_0000018_1A0000017_0000003.pdf    Yes
     18   266O‐SE‐3380382‐GJ_0000018_1A0000017_0000004.JPG    Yes
     18   266O‐SE‐3380382‐GJ_0000018_1A0000017_0000005.pdf    Yes
     18   266O‐SE‐3380382‐GJ_0000018_1A0000017_0000006.pdf    Yes
     18   266O‐SE‐3380382‐GJ_0000018_1A0000017_0000007.pdf    Yes
     18   266O‐SE‐3380382‐GJ_0000018_1A0000017_0000008.JPG    Yes
     18   266O‐SE‐3380382‐GJ_0000018_1A0000017_0000009.pdf    Yes
     18   266O‐SE‐3380382‐GJ_0000018_1A0000017_0000010.JPG    Yes
     18   266O‐SE‐3380382‐GJ_0000018_1A0000017_0000011.pdf    Yes
     18   266O‐SE‐3380382‐GJ_0000018_1A0000017_0000012.pdf    Yes
     18   266O‐SE‐3380382‐GJ_0000018_1A0000017_0000013.JPG    Yes
     18   266O‐SE‐3380382‐GJ_0000018_1A0000017_0000014.pdf    Yes
     18   266O‐SE‐3380382‐GJ_0000018_1A0000017_0000015.pdf    Yes
     19   266O‐SE‐3380382‐GJ_0000019.pdf                      Yes
     19   266O‐SE‐3380382‐GJ_0000019_1A0000018_0000001.pdf    Yes


                                    5
Case 1:21-cr-00175-TJK Document 285-16 Filed 02/07/22 Page 8 of 12




     20   266O‐SE‐3380382‐GJ_0000020.pdf                      Yes
     20   266O‐SE‐3380382‐GJ_0000020_1A0000019_0000001.pdf    Yes
     20   266O‐SE‐3380382‐GJ_0000020_1A0000019_0000002.pdf    Yes
     21   266O‐SE‐3380382‐GJ_0000021.pdf                      Yes
     21   266O‐SE‐3380382‐GJ_0000021_1A0000020_0000001.pdf    Yes
     21   266O‐SE‐3380382‐GJ_0000021_1A0000020_0000002.log    Yes
     21   266O‐SE‐3380382‐GJ_0000021_1A0000020_0000003.pdf    Yes
     21   266O‐SE‐3380382‐GJ_0000021_1A0000020_0000004.txt    Yes
     21   266O‐SE‐3380382‐GJ_0000021_1A0000020_0000005.log    Yes
     22   266O‐SE‐3380382‐GJ_0000022.pdf                      Yes
     22   266O‐SE‐3380382‐GJ_0000022_1A0000021_0000001.pdf    Yes
     22   266O‐SE‐3380382‐GJ_0000022_1A0000022_0000001.pdf    Yes
     22   266O‐SE‐3380382‐GJ_0000022_1A0000023_0000001.zip    Yes
     22   266O‐SE‐3380382‐GJ_0000022_1A0000024_0000001.zip    Yes
     23   266O‐SE‐3380382‐GJ_0000023.pdf                      Yes
     23   266O‐SE‐3380382‐GJ_0000023_1A0000025_0000001.pdf    Yes
     23   266O‐SE‐3380382‐GJ_0000023_1A0000026_0000001.pdf    Yes
     23   266O‐SE‐3380382‐GJ_0000023_1A0000027_0000001.xlsx   Yes
     23   266O‐SE‐3380382‐GJ_0000023_1A0000028_0000001.xlsx   Yes
     24   266O‐SE‐3380382‐GJ_0000024.pdf                      Yes
     24   266O‐SE‐3380382‐GJ_0000024_1A0000029_0000001.pdf    Yes
     24   266O‐SE‐3380382‐GJ_0000024_1A0000030_0000001.pdf    Yes
     25   266O‐SE‐3380382‐GJ_0000025.pdf                      Yes
     25   266O‐SE‐3380382‐GJ_0000025_1A0000031_0000001.pdf    Yes
     25   266O‐SE‐3380382‐GJ_0000025_1A0000032_0000001.xlsx   Yes
     26   266O‐SE‐3380382‐GJ_0000026.pdf                      Yes
     26   266O‐SE‐3380382‐GJ_0000026_1A0000033_0000001.pdf    Yes
     26   266O‐SE‐3380382‐GJ_0000026_1A0000034_0000001.pdf    Yes
     26   266O‐SE‐3380382‐GJ_0000026_1A0000035_0000001.pdf    Yes
     26   266O‐SE‐3380382‐GJ_0000026_1A0000036_0000001.pdf    Yes
     26   266O‐SE‐3380382‐GJ_0000026_1A0000037_0000001.pdf    Yes
     26   266O‐SE‐3380382‐GJ_0000026_1A0000038_0000001.pdf    Yes
     27   266O‐SE‐3380382‐GJ_0000027.pdf                      Yes
     27   266O‐SE‐3380382‐GJ_0000027_1A0000039_0000001.pdf    Yes
     27   266O‐SE‐3380382‐GJ_0000027_1A0000040_0000001.pdf    Yes
     29   266O‐SE‐3380382‐GJ_0000029.pdf                      Yes
     29   266O‐SE‐3380382‐GJ_0000029_1A0000042_0000001.pdf    Yes
     30   266O‐SE‐3380382‐GJ_0000030.pdf                      Yes
     30   266O‐SE‐3380382‐GJ_0000030_1A0000043_0000001.XLSX   Yes
     30   266O‐SE‐3380382‐GJ_0000030_1A0000043_0000002.XLSX   Yes
     30   266O‐SE‐3380382‐GJ_0000030_1A0000043_0000003.PDF    Yes


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Case 1:21-cr-00175-TJK Document 285-16 Filed 02/07/22 Page 9 of 12




     30   266O‐SE‐3380382‐GJ_0000030_1A0000043_0000004.XLSX   Yes
     30   266O‐SE‐3380382‐GJ_0000030_1A0000044_0000001.pdf    Yes
     30   266O‐SE‐3380382‐GJ_0000030_1A0000044_0000002.PDF    Yes
     31   266O‐SE‐3380382‐GJ_0000031.pdf                      Yes
     31   266O‐SE‐3380382‐GJ_0000031_1A0000045_0000001.pdf    Yes
     31   266O‐SE‐3380382‐GJ_0000031_1A0000045_0000002.pdf    Yes
     31   266O‐SE‐3380382‐GJ_0000031_1A0000045_0000003.pdf    Yes
     31   266O‐SE‐3380382‐GJ_0000031_1A0000045_0000004.pdf    Yes
     31   266O‐SE‐3380382‐GJ_0000031_1A0000045_0000005.pdf    Yes
     32   266O‐SE‐3380382‐GJ_0000032.pdf                      Yes
     32   266O‐SE‐3380382‐GJ_0000032_1A0000046_0000001.zip    Yes
     32   266O‐SE‐3380382‐GJ_0000032_1A0000046_0000002.zip    Yes
     34   266O‐SE‐3380382‐GJ_0000034.pdf                      Yes
     34   266O‐SE‐3380382‐GJ_0000034_1A0000047_0000001.xlsb   Yes
     34   266O‐SE‐3380382‐GJ_0000034_1A0000047_0000002.png    Yes
     34   266O‐SE‐3380382‐GJ_0000034_1A0000047_0000003.png    Yes
     34   266O‐SE‐3380382‐GJ_0000034_1A0000047_0000004.png    Yes
     34   266O‐SE‐3380382‐GJ_0000034_1A0000047_0000005.png    Yes
     34   266O‐SE‐3380382‐GJ_0000034_1A0000047_0000006.png    Yes
     34   266O‐SE‐3380382‐GJ_0000034_1A0000047_0000007.pdf    Yes
     34   266O‐SE‐3380382‐GJ_0000034_1A0000047_0000008.xlsb   Yes
     35   266O‐SE‐3380382‐GJ_0000035.pdf                      Yes
     35   266O‐SE‐3380382‐GJ_0000035_1A0000048_0000001.pdf    Yes
     35   266O‐SE‐3380382‐GJ_0000035_1A0000048_0000002.xlsx   Yes
     35   266O‐SE‐3380382‐GJ_0000035_1A0000048_0000003.xlsx   Yes
     35   266O‐SE‐3380382‐GJ_0000035_1A0000048_0000004.pdf    Yes
     35   266O‐SE‐3380382‐GJ_0000035_1A0000048_0000005.xlsx   Yes
     35   266O‐SE‐3380382‐GJ_0000035_1A0000048_0000006.pdf    Yes
     35   266O‐SE‐3380382‐GJ_0000035_1A0000048_0000007.pdf    Yes
     35   266O‐SE‐3380382‐GJ_0000035_1A0000048_0000008.xlsx   Yes
     35   266O‐SE‐3380382‐GJ_0000035_1A0000048_0000009.pdf    Yes
     35   266O‐SE‐3380382‐GJ_0000035_1A0000048_0000010.pdf    Yes
     36   266O‐SE‐3380382‐GJ_0000036.pdf                      Yes
     36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000001.pdf    Yes
     36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000002.pdf    Yes
     36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000003.pdf    Yes
     36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000004.pdf    Yes
     36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000005.pdf    Yes
     36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000006.pdf    Yes
     36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000007.pdf    Yes
     36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000008.pdf    Yes


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Case 1:21-cr-00175-TJK Document 285-16 Filed 02/07/22 Page 10 of 12




      36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000009.pdf   Yes
      36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000010.pdf   Yes
      36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000011.pdf   Yes
      36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000012.pdf   Yes
      36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000013.pdf   Yes
      36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000014.pdf   Yes
      36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000015.pdf   Yes
      36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000016.pdf   Yes
      36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000017.pdf   Yes
      36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000018.pdf   Yes
      36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000019.pdf   Yes
      36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000020.pdf   Yes
      36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000021.pdf   Yes
      36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000022.pdf   Yes
      36   266O‐SE‐3380382‐GJ_0000036_1A0000049_0000023.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037.pdf                     Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000001.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000002.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000003.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000004.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000005.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000006.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000007.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000008.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000009.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000010.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000011.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000012.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000013.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000014.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000015.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000016.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000017.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000018.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000019.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000020.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000021.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000022.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000023.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000024.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000025.pdf   Yes


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Case 1:21-cr-00175-TJK Document 285-16 Filed 02/07/22 Page 11 of 12




      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000026.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000027.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000028.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000029.csv   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000030.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000031.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000032.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000033.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000034.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000035.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000036.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000037.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000038.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000039.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000040.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000041.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000042.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000043.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000044.pdf   Yes
      37   266O‐SE‐3380382‐GJ_0000037_1A0000050_0000045.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038.pdf                     Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000001.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000002.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000003.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000004.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000005.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000006.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000007.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000008.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000009.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000010.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000011.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000012.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000013.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000014.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000015.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000016.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000017.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000018.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000019.pdf   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000020.pdf   Yes


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Case 1:21-cr-00175-TJK Document 285-16 Filed 02/07/22 Page 12 of 12




      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000021.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000022.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000023.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000024.csv    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000025.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000026.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000027.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000028.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000029.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000030.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000031.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000032.csv    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000033.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000034.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000035.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000036.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000037.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000038.xlsx   Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000039.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000040.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000041.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000042.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000043.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000044.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000045.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000046.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000047.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000048.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000049.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000050.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000051.pdf    Yes
      38   266O‐SE‐3380382‐GJ_0000038_1A0000051_0000052.pdf    Yes
      39   266O‐SE‐3380382‐GJ_0000039.pdf                      Yes
      39   266O‐SE‐3380382‐GJ_0000039_1A0000052_0000001.pdf    Yes
      39   266O‐SE‐3380382‐GJ_0000039_1A0000052_0000002.pdf    Yes




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